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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 21-cv-22437-BLOOM/OTAZO-REYES

 MICHAEL PEARSON, et al.,

        Plaintiffs,

 vs.

 DEUTSCHE BANK AG, et al.,

       Defendants.
 ______________________________/

                 ORDER SETTING CONTINUED DISCOVERY HEARING

        THIS CAUSE came before the Court on Plaintiffs Michael Pearson, Andrew Childe, and

 Anna Silver’s (“Plaintiffs”) Amended Notice of Hearing (hereafter, “Notice of Hearing”) [D.E.

 72]. This matter was referred to the undersigned pursuant to 28 U.S.C. § 636 by the Honorable

 Beth Bloom, United States District Judge [D.E. 39]. The undersigned held a hearing on this

 matter on February 23, 2022 (hereafter, “Hearing”).

        At the Hearing, the parties agreed to meet and confer over the next several weeks in an

 effort to narrow and resolve their current discovery dispute relating to Plaintiffs’ Requests for

 Production Nos. 25, 26, and 28, and to participate in a Continued Discovery Hearing for the

 purpose of addressing any unresolved disputes. Accordingly, it is

        ORDERED AND ADJUDGED that a Continued Discovery Hearing is hereby SET for

 Wednesday, March 16, 2022 at 2:30 P.M., at the United States District Court, 301 North

 Miami Ave., Tenth Floor, Miami, Florida. The Continued Discovery Hearing will be conducted

 telephonically. The dial-in instructions for the Continued Discovery Hearing are as follows: the

 parties shall call the conference number 1-888-684-8852 at the appointed time, then enter access

 code 4791317 and security code 0316. Please dial in at least ten minutes before the hearing begins
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 and wait until your case is called.

        DONE AND ORDERED in Chambers at Miami, Florida this 23rd day of February, 2022.


                                           _____________________________________
                                           ALICIA M. OTAZO-REYES
                                           UNITED STATES MAGISTRATE JUDGE

 cc:    United States District Judge Beth Bloom
        Counsel of Record




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